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 4
     Attorney for Defendant
 5   David Robbie Forkner

 6

 7                    IN THE UNITED STATES DISTRICT COURT

 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )          CR NO. S-08-363 GEB
                                   )
11             Plaintiff,          )          STIPULATION AND
                                   )          ORDER CONTINUING
12        v.                       )          STATUS CONFERENCE
                                   )
13   David Forkner,                )
                                   )          Date:    January 27, 2012
14                                 )          Time:    9:00 a.m.
                                   )          Judge:   Hon. Garland E.
15             Defendants.         )                   Burrell, Jr.
     ______________________________)
16
            IT IS HEREBY stipulated between the United States of America
17
     through its undersigned counsel, Michael M. Beckwith, Assistant
18
     United States Attorney, together with counsel for defendant David
19
     Forkner, John R. Manning Esq., that the status conference
20
     currently set for January 20, 2012, be continued to January 27,
21
     2012, at which time the defendant anticipates entering a change
22
     of plea.    The parties also stipulate that the time beginning
23
     January 18, 2012, and extending through January 27, 2012, should
24
     be excluded from the calculation of time under the Speedy Trial
25
     Act.   The parties request to exclude time for defense
26
     preparation. The defense requests more time to review and discuss
27
     the proposed plea agreement.
28
                                          1
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 1        The parties stipulate and agree that the interests of

 2 justice served by granting this continuance outweigh the best

 3 interests of the public and the defendants in a speedy trial. 18

 4 USC § 3161(h)(7)(B)(iv) and (Local T-4).

 5 IT IS SO STIPULATED.

 6

 7 Date: January 18, 20102                      /s/ John R. Manning
                                              JOHN R. MANNING
 8                                            Attorney for Defendant
                                              David Robbie Forkner
 9

10
     Dated: January 18, 2012                  Benjamin B. Wagner
11                                            United States Attorney

12
                                        by:     /s/ Michael M. Beckwith
13                                            MICHAEL M. BECKWITH
                                              Assistant U.S. Attorney
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 1                    IN THE UNITED STATES DISTRICT COURT

 2                  FOR THE EASTERN DISTRICT OF CALIFORNIA

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 4 UNITED STATES OF AMERICA,         ) Case No. CR.S 08-363 GEB
                                     )
 5                  Plaintiff,       )
                                     )
 6        v.                         ) ORDER TO CONTINUE
                                     ) STATUS CONFERENCE
 7   David Forkner,                  )
                                     )
 8                                   )
                                     )
 9                  Defendants.      )
     _______________________________ )
10

11
           Based on the stipulation of the parties and good cause
12
     appearing therefrom, the Court hereby finds that the failure to
13
     grant a continuance in this case would deny defense counsel
14
     reasonable time necessary for effective preparation, taking into
15
     account the exercise of due diligence.        The Court specifically
16
     finds that the ends of justice served by the granting of such
17
     continuance outweigh the interests of the public and the defendant
18
     in a speedy trial.    Based on these findings and pursuant to the
19
     stipulation of the parties, the Court hereby adopts the
20
     stipulation of the parties in its entirety as its order.           Time is
21
     excluded from computation of time within which the trial of this
22
     matter must be commenced beginning from the date of the
23
     stipulation, January 18, 2012, through and including January 27,
24
     2012, pursuant to 18 U.S.C. §      3161(h)(7)(A) and (B)(iv)
25
     [reasonable time for defense counsel to prepare] and Local Code
26
     T4.   It is further ordered that the January 20, 2012 status
27
     conference shall be continued until January 27, 2012, at 9:00a.m.
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                                          3
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 1
     IT IS SO ORDERED.
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 3
     Dated:    January 18, 2012
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 7
                                       GARLAND E. BURRELL, JR.
 8                                     United States District Judge
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